875 F.2d 316Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Bruce ROBINSON, Plaintiff-Appellant,v.E.B. WRIGHT, Warden;  Institutional ClassificationCommittee;  Edward Murray, Director, Department ofCorrections;  Virginia State ParoleBoard, Defendants-Appellees.
    No. 89-7557.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 21, 1989.Decided:  May 22, 1989.
    
      James Bruce Robinson, appellant pro se.
      Robert Harkness Herring, Jr.  (Office of the Attorney General of Virginia), for appellees.
      Before K.K. HALL, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Bruce Robinson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Robinson v. Wright, C/A No. 88-779-N (E.D.Va. Feb. 15, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    